                  Case 1:20-cv-08924-CM Document 1074 Filed 06/24/23 Page 1 of 6




HON. SYLVIA O. HINDS-RADIX
Corporation Counsel
                                               THE CITY OF NEW YORK                                      AMY ROBINSON
                                                                                                             Senior Counsel
                                               LAW DEPARTMENT                                         arobinso@law.nyc.gov
                                                 100 CHURCH STREET                                    Phone: (212) 356-3518
                                                                                                        Fax: (212) 356-1148
                                              NEW YORK , NEW YORK 10007




         By ECF                                                                       June 23, 2023
         Honorable Gabriel W. Gorenstein
         United States Magistrate Judge
         United States District Court
         Southern District of New York
         500 Pearl Street
         New York, New York 10007

                 In Re: New York City Policing During Summer 2020 Demonstrations,
                        No. 20 Civ. 8924 (CM) (GWG)
                        This filing is related to all cases

         Your Honor:

                 I am a Senior Counsel in the Office of the Honorable Sylvia O. Hinds-Radix, Corporation
         Counsel of the City of New York, and I am among counsel for the defense in the above-referenced
         matter. Defendants write in response to Plaintiffs’ letter dated June 21, 2023, (ECF No. 1067).
         Defendants acknowledge that this is a discovery issue which the parties have been trying,
         unsuccessfully, to resolve for some time. However, Plaintiffs’ letter does not accurately reflect the
         timeline of the parties’ discussions. Moreover, while Defendants have remained open to providing
         Plaintiffs with the information they seek, Defendants continue to ask that Plaintiffs work
         collaboratively to find an efficient manner of conveying that information. Defendants also assert
         that the “Notice of Deposition Upon Written Questions Pursuant to Fed. R. Civ. P. 31” (ECF No.
         1067-3) (“the Rule 31 Notice”) served by Plaintiffs is neither close to what Defendants had
         previously proposed, nor an efficient means of conducting the desired “discovery on discovery.”

                 Plaintiffs’ representation that Defendants “agreed to conduct Rule 31 depositions” is not
         entirely accurate. Moreover, the fact that this dispute has re-emerged “less than one month from
         the end of discovery” is entirely a result of Plaintiffs lengthy failure to follow-up on
         communications from March of this year.

                 Following the Court’s Order on January 23, 2023 (ECF No. 823), Defendants produced the
         Declaration of John Schneider (ECF No. 1067-2) in an attempt to provide the information that the
         Court had identified as potentially relevant. Detective Schneider’s declaration detailed the process
         by which certain video evidence is “normally sought by the NYPD in conducting [criminal]
         investigations of events occurring outdoors.” (ECF No. 1067-1 at ¶ 1, (quoting Order ECF No.
         823)). The Summer 2020 Protests were, of course, not in any way “normal” for NYPD, and a


                                                          1
          Case 1:20-cv-08924-CM Document 1074 Filed 06/24/23 Page 2 of 6




description of NYPD’s “normal” processes and procedures cannot fully capture the steps that were
taken to preserve video related to those protests. Recognizing this, Defendants sought to continue
working with Plaintiffs to develop the information that the Court ordered, and which would permit
the parties and the Court to evaluate the merits of any potential spoliation motion.

        Towards that end, Defendants met and conferred with Plaintiffs on March 23, 2023. 1
During that meeting, Defendants raised the possibility of using Rule 31 of the Federal Rules of
Civil Procedure as a framework for establishing a process by which the necessary information
would be conveyed, either in writing or through live testimony, whichever was more efficient. As
defense counsel made clear in the follow-up email the same day (ECF No. 1067-2), neither side
had fully grasped or agreed upon the precise procedure called for by use of Rule 31, which is a
rarely used method of obtaining discovery. Defense counsel ended by saying “both sides need to
examine this issue further, but we believe that the proposed method—deposition on written
questions that we can review and use to prepare the witness(es)—offers an efficient means of
resolving outstanding disputes in this area of discovery.” ECF No. 1067-2. Plaintiffs’ counsel
responded to that email the same day, saying “thanks for the clarifications. We’ll discuss and get
back to you, hopefully early next week.” Email from L. Marquez to T. Zimmerman dated March
23, 2023 (attached hereto as Exhibit “A”). However, Plaintiffs did not renew the discussion the
following week and, hearing nothing from them, Defendants put the issue of video preservation
on the backburner and focused on the flurry of other discovery, including depositions, that has
occurred over the past three months.

          The next time that Defendants heard from Plaintiffs on this issue was on June 1, 2023,
when Plaintiffs served their 47-page Rule 31 Notice without any further discussion. Needless to
say, Defendants were quite surprised after such a long pause to receive that extensive discovery
demand without any of the follow-up negotiations that had been expected to narrow the proposed
discovery to a reasonable scope and form. Upon examining the Rule 31 Notice, Defendants
quickly concluded that it suffered from all of the defects that had led the Court to originally opine
that Rule 31 would be the “least practical method” of resolving this issue. For example, it included
numerous topics that are not relevant to the video preservation and production issues in this case,
such as questions about the Movie TV Unit (ECF No. 1067-3 at 10–11) and lengthy background
examination of the witness or witnesses designated to answer (id. at 6–7). Moreover, Plaintiffs’
demands regarding the proposed procedures to be followed were not consistent with Defendants’
understanding of Rule 31, and only seemed to further complicate what was supposed to be a
collaborative process. For example, the Rule 31 Notice instructs the answering witness to “not
consult any materials during your testimony” other than the exhibits chosen by Plaintiffs’ counsel,
(id. at ¶ 13) which would defeat the purpose of preparing an institutional witness to testify to the
best of their ability. Defendants also take issue with Plaintiffs’ intention to appear at the
examination under oath as one of the purposes of Rule 31 is to save on the costs associated with
live depositions including attorneys’ fees.

       Defendants’ objection to simply produce the desired information under Rule 31 or Rule
30(b)(6) is based on the unfocused nature of Plaintiffs’ inquiries, and the very broad scope of the
information they purport to be seeking. The information that Plaintiffs seek does not reside in one,

1
 Present at the meet and confer for Plaintiffs were Lillian Marquez and Remy Greene. Present for Defendants was
Tobias Zimmerman.

                                                      2
          Case 1:20-cv-08924-CM Document 1074 Filed 06/24/23 Page 3 of 6




or even a small number of individuals at NYPD. Collecting the necessary information and
preparing one or more witnesses on this topic (whether for a deposition under Rule 31 or one under
Rule 30(b)(6)) will not be a trivial task and will require extensive efforts by defense counsel and
NYPD. In sum, it would be extremely burdensome.

       In an effort to further the resolution on this issue, defense counsel believes it is helpful to
inform the Court and Plaintiffs of the following facts regarding NYPD’s use of video evidence: 2

            •    NYPD creates certain types of video through the following means (italics explained
                 below):
                     o   Body Worn Cameras (BWC);
                     o   Department issued cell phones;
                     o   ARGUS cameras situated in public places;
                     o   Precinct security cameras;
                     o   Aviation;
                     o   Video created by the Technical Assistance Response Unit (TARU); and
                     o   Dashboard cameras.

            •    NYPD has access to some video from certain third parties:
                     o   Department of Transportation (DOT);
                     o   NYCHA;
                     o   Department of Citywide Administrative Services (DCAS);
                     o   MTA;
                     o   Port Authority;
                     o   Certain institutional third parties cooperating on counterterrorism; 3and
                     o   Other third parties operating cameras in proximity to a crime scene,
                         collected by Detective Bureau.

            •    The video sources listed above in italics are collected through the Lower Manhattan
                 Security Initiative (LMSI), which is part of NYPDs Counterterrorism Bureau. The
                 other (non-NYPD) parties participating in LMSI may or may not have additional
                 video footage that they capture and store on their own video systems, which are not
                 part of LMSI, and to which NYPD does not have access.

            •    Many of the video sources in LMSI are protected by the Law Enforcement Privilege
                 because the location of the cameras and the footage they capture may reveal
                 sensitive or vulnerable infrastructure related to NYPD’s ongoing counterterrorism
                 mission.

            •    LMSI is designed and optimized for real-time monitoring of catastrophic events
                 such as the terrorist attacks of 9/11. As such, it was never meant to retain video for
2
 The information provided herein will supplement and update those set forth in Defendants’ letter dated May 11,
2022.

3
  The identities of these third parties are also protected from disclosure by the Law Enforcement Privilege and
confidentiality agreements.

                                                      3
Case 1:20-cv-08924-CM Document 1074 Filed 06/24/23 Page 4 of 6




     long periods, nor is it optimized to export video en masse for the purposes of aiding
     criminal investigations or civil litigation. As such:
        o Video is normally only retained for 30-days before it is automatically erased
          or overwritten;
        o Video can only be exported from LMSI (a very small unit at NYPD) at
          double the rate of normal playback, meaning a 10-minute video takes 5-
          minutes to export;
        o Video can only be exported onto physical media; and
        o Each video clip selected for preservation must be manually selected from
          the overall camera feed and individually exported (i.e., one-by-one).
          Furthermore, only two exports can be queued at a time, in addition to the
          clip being copied, meaning a human operator must continually monitor the
          process to ensure all selected footage is exported.

 •   On or about June 5, 2020, the Legal Bureau notified the Information Technology
     Bureau (ITB)—the command responsible for storage and administration of
     retention policies for certain video data—that efforts to preserve protest related
     video should begin at once. Since a preservation of this size had never before been
     attempted, the request was made to ITB because it was immediately obvious that
     such mass preservation was beyond the technical capabilities of LMSI and would
     need to be implemented on the back end.

 •   Within the first few days of the protests, the Legal Bureau began to identify protests
     and related arrests by date, time, and location and submitted these lists of protest-
     related events to ITB for preservation. Other commands, such as the Office of the
     Police Commissioner, were also submitting requests directly to ITB for video
     related to the protests.

 •   Finding and marking all of the requested footage from specific cameras within the
     30-day retention period became impractical or impossible, so a decision was made
     by ITB to extend the retention period to 55 days.

 •   By the middle of July 2020, the video flagged for special retention by ITB already
     consumed more than 25% of the available storage space. Meanwhile, the number
     of requests for video preservation sent to ITB had declined precipitously due to
     changing circumstances on the street. In light of those factors, and because ITB
     was facing severe staffing issues related to the pandemic, a decision was made to
     preserve indefinitely all video on cameras possibly implicated by the various
     preservation requests for the period of May 28 through June 8, 2020, and to resume
     normal operation of LMSI, including the 30-day retention/destruction cycle.

 •   During the course of discovery, the City used the maps provided by Plaintiffs to
     identify relevant Argus footage included within the May 28 to June 8, 2020, period
     that was preserved. Additionally, defendants identified Aviation footage and have
     produced all such relevant Argus and Aviation non-privileged video that was

                                       4
         Case 1:20-cv-08924-CM Document 1074 Filed 06/24/23 Page 5 of 6




               located during those searches. The only LMSI video retained after June 8, 2020,
               were those clips for which a specific retention request was generated within the 30-
               day retention period.

           •   With respect to the video sources above that are not part of LMSI, NYPD has taken
               all reasonable measures to preserve and produce relevant video in this litigation:

                   o BWC video was preserved, and huge quantities have been produced to
                     Plaintiffs;
                   o Deposition witnesses were questioned as to whether they have relevant
                     video (or still images) of the protests on their department-issued phones,
                     and relevant evidence has been copied and produced;
                   o All video of the protests created by TARU has been preserved, and large
                     quantities of it have been produced;
                   o At the time of the protests, only the Highway Division of NYPD had
                     dashboard cameras. NYPD does not believe that any relevant and
                     discoverable dashboard video was created; and
                   o Video from third parties in proximity to crime scenes is collected in the
                     manner described by Detective Schneider in his declaration (ECF No. 1067-
                     1). Video collected in this manner would be stored in NYPD’s Enterprise
                     Case Management System (ECMS) along with other evidence and
                     information pertaining to criminal investigations. NYPD believes that there
                     is unlikely to be much, if any, relevant video of this type, as the 2020
                     Protests were not generally investigated after the fact by the Detective
                     Bureau. Moreover, there is no reasonable means by which NYPD could
                     search ECMS for relevant video evidence in this category.

         The facts proffered above are from defense counsel’s understanding of the issues following
a diligent investigation. All told, Defendants have produced thousands of hours of video in this
litigation. Defendants reasonably believe that any additional video of the protests that might be
available would be cumulative and would not materially advance the litigation. As such
Defendants contend that efforts to locate, copy, and produce any additional video would not be
consistent with the requirement under Rule 1 that the discovery rules be “construed, administered,
and employed by the court and the parties to secure the just, speedy, and inexpensive determination
of [this] action and proceeding.”

       Moreover, Plaintiffs’ request for sanctions is entirely meritless. Rule 37 provides that,
where a motion “for an order compelling disclosure or discovery” is granted, “or discovery is
provided after filing” … “the court must, after giving an opportunity to be heard, require the party
or deponent who conduct necessitated the motion . . . to pay the movant’s reasonable expenses
incurred in making the motion, including reasonable attorney’s fees…” Rule 37(a)(5)(A).
However, Rule 37(a) provides three exceptions if: “(i) the movant filed the motion before
attempting in good faith to obtain the disclosure or discovery without court action; (ii) the opposing
party’s nondisclosure, response, or objection was substantially justified; or (iii) other
circumstances make an award of expenses unjust.” Rule 37(a)(5)(A)(i)-(iii) (emphasis added).


                                                  5
         Case 1:20-cv-08924-CM Document 1074 Filed 06/24/23 Page 6 of 6




        As detailed above, Plaintiffs abandoned the video footage issue for over two months stating
in March that, “we’ll get back to you, hopefully early next week,” and then complete radio silence
until they dropped a 47-paged Rule 31 Notice inserting a very complicated process for dealing
with what they have turned into an extremely complicated issue. Defendants tried in good faith to
work this out with Plaintiffs collaboratively, and their failure to communicate from March until
June is the only reason this is now a crisis before the Court. Waiting until June to serve a Rule 31
Notice and then expecting Defendants to be able to garner witnesses on very short notice to answer
voluminous questions while right in the throes of high-ranking and 30(b)(6) depositions and
preparations is not acting in good faith.
       In light of the foregoing, Defendants respectfully request that the Court deny Plaintiffs’
application including their application for sanctions by means of taking as established certain
answers to open questions under Fed. R. Civ. P. 37(b)(ii)(A)(1) or by any award of costs and fees.
        Thank you for Your Honor’s consideration herein.

                                                     Respectfully submitted,


                                                     Amy Robinson s/
                                                     Amy Robinson
                                                     Senior Counsel
Encl.

cc:     ALL COUNSEL (via ECF)




                                                 6
